      Case 2:20-cv-00541-JAM-AC Document 17 Filed 06/16/20 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                                    UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11    MARK AUSSIEKER,                                   No. 2:20-cv-00541 JAM AC PS
12                       Plaintiff,
13           v.                                         ORDER
14    360 DIGITAL MARKETING, et al.,
15                       Defendants.
16

17          Plaintiff, proceeding pro se, filed the above-entitled action. The matter was referred to a

18   United States Magistrate Judge pursuant to Local Rule 302(c)(21).

19          On May 18, 2020, the magistrate judge filed findings and recommendations herein which

20   were served on all parties and which contained notice to all parties that any objections to the

21   findings and recommendations were to be filed within twenty-one days. ECF No. 10. Neither

22   party has filed objections to the findings and recommendations.

23          The court has reviewed the file and finds the findings and recommendations to be

24   supported by the record and by the magistrate judge’s analysis. Accordingly, IT IS HEREBY

25   ORDERED that:

26          1. The findings and recommendations filed May 18, 2020, are adopted in full;

27          2. Defendant Salman Yousuf is dismissed from this action without prejudice.

28   ////
                                                       1
     Case 2:20-cv-00541-JAM-AC Document 17 Filed 06/16/20 Page 2 of 2


 1          3. On June 16, 2020, plaintiff filed a Notice of Voluntary Dismissal, ECF No. 16. The
 2   remaining defendants are dismissed and this case is closed.
 3

 4   DATED: June 15, 2020
 5                                               /s/ John A. Mendez________________________
 6                                               United States District Court Judge
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                      2
